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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                    }
              Plaintiff-Respondent           }
                                             }
v.                                           }      CRIMINAL ACTION NO. H-95-142-14
                                             }      CIVIL ACTION NO. H-03-5460
LUIS MORENO,                                 }
              Defendant-Petitioner           }


                              ORDER DISMISSING ACTION

       After careful and independent consideration of the record in this case, the Court

       ORDERS that Petitioner Luis Moreno’s Motion to Vacate, Set Aside or Correct Sentence

pursuant to 28 U.S.C. § 2255 is DENIED and his action DISMISSED.

       SIGNED at Houston, Texas, this 8th day of February, 2007.



                                     ______________________________________
                                              MELINDA HARMON
                                       UNITED STATES DISTRICT JUDGE
